Case Summary - Online Services - LA Court                               Page 1 of 2
  Case 2:17-cv-01098-DSF-KS Document 1-3 Filed 02/10/17 Page 1 of 2 Page ID #:11


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       Case Summary

             CASE SUMMARY                                                                                                                 PRINT           NEW SEARCH

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             Case Number:  BC645605
             ROBERT KERNS VS PORTFOLIO RECOVERY ASSOCIATES LLC

             Filing Date:  01/04/2017
             Case Type:  Other PI/PD/WD (General Jurisdiction)
             Status:  Pending



             Future Hearings


             01/06/2020 at 08:30 am in department 98 at 111 North Hill Street, Los Angeles, CA 90012
             OSC RE Dismissal


             06/20/2018 at 10:00 am in department 98 at 111 North Hill Street, Los Angeles, CA 90012
             Final Status Conference


             07/05/2018 at 08:30 am in department 98 at 111 North Hill Street, Los Angeles, CA 90012
             Jury Trial



                                                     Documents Filed | Proceeding Information




             Parties
             DOES 1 TO 10 - Defendant/Respondent

             KERNS ROBERT - Plaintiff & Plaintiff In Pro Per

             PORTFOLIO RECOVERY ASSOCIATES LLC - Defendant/Respondent


                                          Case Information | Party Information | Proceeding Information




             Documents Filed (Filing dates listed in descending order)
             01/26/2017 Proof-Service/Summons
             Filed by Plaintiff/Petitioner

             01/04/2017 Complaint


                                             Case Information | Party Information | Documents Filed




                                                                                                                                                              Exhibit D
http://www.lacourt.org/casesummary/ui/casesummary.aspx?                                                                                                                        2/10/2017
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                     Proceedings Held (Proceeding dates listed in descending order)
                     None


                                       Case Information | Party Information | Documents Filed | Proceeding Information                           NEW SEARCH




                                                Art Showcased in
                                       Los Angeles Courthouse Jury Rooms




                                               "Little Chicks" by Kevin Sy
                                                 2006 1st Place Youth




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                                                                                                                                                    Exhibit D
http://www.lacourt.org/casesummary/ui/casesummary.aspx?                                                                                                                 2/10/2017
